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                       ‭ NITED STATES DISTRICT COURT‬
                       U
                       ‭FOR THE DISTRICT OF COLUMBIA‬

 ‭ ATIONAL COUNCIL OF‬
 N
 ‭NONPROFITS, et al.,‬

 ‭Plaintiffs‬‭,ex.‬
                                             ‭Case No. 25-cv-239‬
 ‭v.‬

 ‭ FFICE OF MANAGEMENT AND‬
 O
 ‭BUDGET, et al.,‬

 ‭Defendants‬‭.‬


    ‭ LAINTIFFS’ OPPOSITION TO MOTION TO DISMISS AND REPLY IN‬
    P
     ‭SUPPORT OF MOTION FOR A TEMPORARY RESTRAINING ORDER‬

        ‭On Monday, OMB issued Memo M-25-13, which instructed all Federal‬

‭agencies that they “‬‭must temporarily pause‬‭all‬‭activities related to obligation or‬

‭disbursement of‬‭all‬‭Federal financial assistance,” as well as “other relevant agency‬

‭activities that may be implicated by [certain] executive orders, including, but not‬

‭limited to, financial assistance for foreign aid, nongovernmental organizations, DEI,‬

‭woke gender ideology, and the green new deal.” Memo M-25-13 at 2 (first emphasis‬

‭in original; second and third added). This sweeping decree was made public only by‬

‭journalists’ reporting, and was set to take effect by Tuesday at 5:00 p.m.,‬‭id.‬

‭Minutes before then, this Court ordered an administrative stay ordering‬

‭Defendants to refrain from implementing the Memo with respect to the‬

‭disbursement of Federal funds under all open awards.‬

        ‭The next afternoon, OMB issued Memo M-25-14, which purported to rescind‬

‭Memo M-25-13. This, the government claims, ends the case. But the purported‬


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‭rescission appears to be little more than a bait and switch. The White House press‬

‭secretary immediately announced that Memo M-25-14 was “NOT a rescission of the‬

‭federal funding freeze,” but instead an effort to avoid the effect of this Court’s order.‬

‭Karoline Leavitt, X, https://x.com/PressSec/status/1884672871944901034 (Jan. 29,‬

‭2025 1:40 PM) (hereinafter, “Leavitt”). And the evidence shows that, although the‬

‭government has restored access to some federal financial assistance, it has‬

‭continued to implement the M-25-13 funding freeze, not just after the Court entered‬

‭the administrative stay but even after the supposed rescission. Indeed, minutes‬

‭before Plaintiffs submitted this filing, the only other Court to consider the issue‬

‭determined, in a case brought by a number of state attorneys general, that “the‬

‭policies in [Memo M-25-13] are still in full force and effect and thus the issues‬

‭presented in the States’ TRO motion are not moot.” Order Granting TRO at 10-11,‬

‭New York v. Trump‬‭, No. 1:25-cv-00039 (D.R.I. Jan. 31, 2025).‬

      ‭As of yesterday, for example, the EPA was answering inquiries about‬

‭continued difficulties to access funds by explaining that it “is working diligently to‬

‭implement the Office of Management and Budget’s memorandum, Temporary‬

‭Pause of Agency Grant, Loan, and Other Financial Assistance Programs” and was‬

‭“pausing all activities related to the obligation or disbursement of EPA Federal‬

‭financial assistance at this time.” Ex. A at 6. And while some other agencies‬

‭have—like Defendants here—shifted to claiming that they are not seeking to‬

‭implement the broad freeze OMB ordered but only the more specific freezes‬




                                            ‭2‬
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‭mandated by the President’s executive orders, the evidence is inconsistent with that‬

‭story too.‬

       ‭Plaintiffs’ request for a temporary restraining order therefore remains very‬

‭much live. Plaintiffs have asked for an order enjoining Defendants “from‬

‭implementing or enforcing” Memo M-25-13. Proposed Order, ECF No. 5-6, at 2.‬

‭If,‬‭‬‭as appears, the government is continuing to implement the funding freeze‬

‭ordered in the Memo, then the purported “rescission,” M-25-14, is meaningless, and‬

‭Plaintiffs’ request for an injunction against “implementing” or “enforcing” the‬

‭Memo, Proposed Order at 2, remains not just live but compelling. Plaintiffs are not‬

‭challenging a piece of paper. They are challenging the Memo’s freeze on federal‬

‭funding. And the freeze that the Memo ordered—arbitrarily and capriciously,‬

‭without statutory authority, and in violation of the First Amendment—remains at‬

‭least partially in effect.‬

       ‭Because this dispute unfortunately remains very much live, and because‬

‭Plaintiffs easily have established their standing to proceed, the Court should deny‬

‭Defendants’ motion to dismiss. It should also hold that Plaintiffs have met their‬

‭burden under the traditional four-part test for an order temporarily restraining‬

‭Defendants from continuing to implement or enforce the M-25-13 funding freeze.‬

                      ‭ADDITIONAL FACTUAL BACKGROUND‬

‭A.‬   ‭ emo M-25-13 Ordered a Broad Halt on Open Awards in Order to‬
       M
       ‭Allow Implementation of Several Executive Orders‬

       ‭OMB’s Memo M-25-13 exists in relationship, and tension, with seven‬

‭executive orders that it cites, Memo at 1–2:‬


                                           ‭3‬
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      ‭ ‬ ‭Protecting the American People Against Invasion (Jan. 20, 2025)‬
      ●
      ‭●‬ ‭Reevaluating and Realigning United States Foreign Aid (Jan. 20, 2025)‬
       ‭●‬ ‭Putting America First in International Environmental Agreements (Jan. 20,‬
                ‭2025)‬
        ‭●‬ ‭Unleashing American Energy (Jan. 20, 2025)‬
         ‭●‬ ‭Ending Radical and Wasteful Government DEI Programs and Preferencing‬
                 ‭(Jan. 20, 2025)‬
          ‭●‬ ‭Defending Women from Gender Ideology Extremism and Restoring Biological‬
                  ‭Truth to the Federal Government (Jan. 20, 2025)‬
           ‭●‬ ‭Enforcing the Hyde Amendment (Jan. 24, 2025)‬

         ‭The Memo explains that “[t]o implement these orders, each agency must‬

‭complete a comprehensive analysis of all of their Federal financial assistance‬

‭programs to identify programs, projects, and activities that may be implicated by‬

‭any of the President’s executive orders.” Memo at 2. Meanwhile—separately—the‬

‭Memo commands all federal agencies that, “[i]n the interim, to the extent‬

‭permissible under applicable law,” they “‬‭must temporarily pause‬‭all activities‬

‭related to obligation or disbursement of all Federal financial assistance, and other‬

‭relevant agency activities that may be implicated by” the executive orders.‬‭Id.‬

‭(emphasis in original).‬

         ‭In other words, the Memo first separates the implementation of the executive‬

‭orders—which, in its words, requires a comprehensive analysis—from its interim‬

‭directive to freeze the funds. Second, it separates out two categories of funding that‬

‭must be paused: “all activities related to obligation or disbursement of all Federal‬

‭financial assistance” and “other relevant agency activities that may be implicated‬

‭by the executive orders.”‬‭1‬ ‭Memo at 2.‬



‭1‬
  ‭ he two clauses are separated by a comma: the phrase “that may be implicated by‬
  T
‭the executive orders” therefore modifies only “other relevant agency activities.”‬

                                              ‭4‬
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       ‭This separation makes sense, because several of the executive orders do not‬

‭require a freeze of funds at all.‬‭Putting America First in International‬

‭Environmental Agreements‬‭, for example, says nothing about financial assistance‬

‭programs.‬‭2‬ ‭Enforcing the Hyde Amendment‬‭just revokes two prior executive orders.‬‭3‬

‭Defending Women from Gender Ideology‬‭merely requires agencies to “assess”‬

‭grants.‬‭4‬ ‭Similarly,‬‭Ending Radical and Wasteful Government DEI Programs‬

‭provides agencies sixty days in which to terminate, to the maximum extent allowed‬

‭by law, equity-related grants; it does not provide for an immediate pause.‬‭5‬

       ‭While some of the executive orders do purport to require the relevant agency‬

‭to take action to pause or end certain disbursements—on grants supporting‬

‭undocumented people,‬‭Protecting the American People Against Invasion‬‭,‭6‬ ‬ ‭certain‬

‭foreign aid,‬‭Reevaluating and Realigning United States Foreign Aid‬‭,‭7‬ ‬ ‭and funds‬

‭appropriated through the Inflation Reduction Act of 2022 or the Infrastructure‬

‭Investment and Jobs Act,‬‭Unleashing American Energy‬‭8‭—
                                                         ‬
                                                           these requirements in no‬

‭way cover‬‭all‬‭disbursements of open grants across the government. The directive to‬


‭2‬
              ‭https://www.whitehouse.gov/presidential-actions/2025/01/putting-america-first-in-i‬
            ‭nternational-environmental-agreements/‬
‭3‬
              ‭https://www.whitehouse.gov/presidential-actions/2025/01/enforcing-the-hyde-amen‬
 ‭dment/‬
  ‭4‬
              ‭https://www.whitehouse.gov/presidential-actions/2025/01/defending-women-from-g‬
   ‭ender-ideology-extremism-and-restoring-biological-truth-to-the-federal-government/‬
    ‭5‬
              ‭https://www.whitehouse.gov/presidential-actions/2025/01/ending-radical-and-wast‬
     ‭eful-government-dei-programs-and-preferencing/‬
      ‭6‬
              ‭https://www.whitehouse.gov/presidential-actions/2025/01/protecting-the-american-‬
       ‭people-against-invasion/‬
        ‭7‬
              ‭https://www.whitehouse.gov/presidential-actions/2025/01/reevaluating-and-realign‬
         ‭ing-united-states-foreign-aid/‬
          ‭8‬
              ‭https://www.whitehouse.gov/presidential-actions/2025/01/unleashing-american-ene‬
           ‭rgy/)‬

                                                ‭5‬
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‭do‬‭that‬‭comes from the Memo, not the executive orders.‬‭9‬ ‭And the text of the‬

‭executive orders is difficult to square with the broad freezes on open awards that‬

‭remain in place, as detailed below.‬

      ‭B.‬ ‭Agencies Have Implemented Broad Freezes to Payments on Open‬
            ‭Awards, Even After the Court Entered an Administrative Stay‬

        ‭Minutes before the Memo was set to take effect, this Court entered an‬

‭emergency stay for the express purpose of “maintain[ing] the status quo [with‬

‭respect to open grants] until the court may rule on Plaintiffs’ motion,” and in‬

‭response to the government’s own suggestion that additional time was needed for‬

‭briefing and full consideration of the relevant legal issues. Order, Dkt. No. 13, at 4.‬

‭The Court’s order was explicit that it acted to “block[] executive action” by‬

‭temporarily halting Defendants’ “direction that agencies ‘pause . . . disbursement of‬

‭Federal funds under all open awards.’”‬‭Id.‬

        ‭Despite that order, open awards of federal financial assistance have not only‬

‭remained frozen but have become frozen, even after the Court issued its‬

‭administrative stay. For example, the National Science Foundation appears to have‬

‭sent an e-mail to staff at 9:22 p.m. on Tuesday, January 28—more than four hours‬

‭9‬
           ‭To the extent OMB seeks to rely on the “guidance” it issued around the Memo, it‬
         ‭ oes not save them.‬‭See‬‭“OMB Q&A Regarding Memorandum M-25-13” (Jan. 28,‬
         d
      ‭2025), https://www.whitehouse.gov/fact-sheets/2025/01/omb-q-a-regarding-memoran‬
       ‭dum-m-25-13/. The “guidance” states that “[a]ny program not implicated by the‬
        ‭President's Executive Orders is not subject to the pause.”‬‭Id.‬‭(emphasis removed).‬
 ‭But, of course, “implicated” is significantly stronger than the directives actually‬
  ‭contained in those executive orders. Once again, OMB’s directive exceeds their‬
   ‭scope. Moreover, the government is not in compliance with the supposed guardrails‬
    ‭the “guidance” provides. It states that “[f]unds for small businesses” will not be‬
     ‭paused,‬‭id.‬‭—but, as the declarations Plaintiffs have submitted show, that is simply‬
‭not the case.‬

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‭after the Court ordered an administrative stay—instructing them to continue‬

‭carrying out the freeze on open awards.‬‭See‬‭Bobby Kogan, @bbkogan.bsky.social,‬

‭Bluesky Post (Jan. 28, 2025 10:29 PM),‬

‭https://bsky.app/profile/bbkogan.bsky.social/post/3lgtzpevuys2b.‬

        ‭The‬ ‭text‬ ‭of‬ ‭that‬ ‭e-mail—a‬ ‭“Message‬ ‭to‬ ‭the‬ ‭NSF‬ ‭principal‬ ‭investigator‬

‭community”—was‬ ‭also‬ ‭posted‬ ‭on‬ ‭an‬ ‭NSF‬ ‭website.‬ ‭See‬ ‭Ex.‬ ‭B.‬ ‭It‬ ‭explains‬ ‭that‬ ‭the‬

‭“Office‬‭of‬‭Management‬‭and‬‭Budget‬‭Memorandum‬‭M-25-13,‬‭issued‬‭on‬‭Jan.‬‭27,‬‭2025,‬

‭directs‬ ‭all‬ ‭federal‬ ‭agencies‬ ‭to‬ ‭conduct‬ ‭a‬ ‭comprehensive‬ ‭review‬ ‭of‬ ‭their‬ ‭financial‬

‭assistance‬ ‭programs‬ ‭to‬ ‭determine‬ ‭programs,‬ ‭projects‬ ‭and‬ ‭activities‬ ‭that‬ ‭may‬ ‭be‬

‭implicated‬‭by‬‭the‬‭recent‬‭executive‬‭orders.‬‭Therefore,‬‭all‬‭review‬‭panels,‬‭new‬‭awards‬

‭and‬‭all‬‭payments‬‭of‬‭funds‬‭under‬‭open‬‭awards‬‭will‬‭be‬‭paused‬‭as‬‭the‬‭agency‬‭conducts‬

‭the required reviews and analysis.”‬‭Id.‬‭(emphasis added).‬

        ‭NSF‬ ‭goes‬ ‭on‬ ‭to‬ ‭explain‬ ‭that‬ ‭“[a]ll‬ ‭NSF‬ ‭grantees‬ ‭must‬ ‭comply‬ ‭with‬ ‭these‬

‭executive‬ ‭orders,‬ ‭and‬ ‭any‬ ‭other‬ ‭relevant‬ ‭executive‬ ‭orders‬ ‭issued,‬ ‭by‬ ‭ceasing‬ ‭all‬

‭non-compliant‬‭grant‬‭and‬‭award‬‭activities.‬‭.‬‭.‬‭.‬‭In‬‭particular,‬‭this‬‭may‬‭include,‬‭but‬‭is‬

‭not‬ ‭limited‬ ‭to‬ ‭conferences,‬ ‭trainings,‬ ‭workshops,‬ ‭considerations‬ ‭for‬ ‭staffing‬ ‭and‬

‭participant‬ ‭selection,‬‭and‬‭any‬‭other‬‭grant‬‭activity‬‭that‬‭uses‬‭or‬‭promotes‬‭the‬‭use‬‭of‬

‭diversity,‬ ‭equity,‬ ‭inclusion‬ ‭and‬ ‭accessibility‬ ‭(DEIA)‬ ‭principles‬ ‭and‬ ‭frameworks‬ ‭or‬

‭violates federal anti-discrimination laws.”‬‭Id.‬

        ‭State‬ ‭Attorneys‬ ‭General‬ ‭who‬ ‭are‬ ‭separately‬ ‭challenging‬ ‭the‬ ‭freeze‬ ‭in‬ ‭a‬

‭different‬ ‭case‬ ‭have‬ ‭submitted‬ ‭evidence,‬ ‭in‬ ‭the‬ ‭form‬ ‭of‬ ‭more‬ ‭than‬ ‭100‬ ‭pages‬ ‭of‬

‭declarations‬ ‭from‬ ‭state‬ ‭officials‬ ‭across‬ ‭the‬ ‭country,‬ ‭describing‬ ‭sweeping‬ ‭freezes‬‭of‬




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‭hundreds‬ ‭of‬ ‭millions‬ ‭of‬ ‭dollars‬ ‭in‬ ‭funds‬ ‭that‬‭cannot‬‭possibly‬‭be‬‭explained‬‭as‬‭mere‬

‭implementation‬‭of‬‭the‬‭specific‬‭executive‬‭orders.‬‭See‬‭Exs.‬‭B–C.‬‭Arizona,‬‭for‬‭example,‬

‭reported‬ ‭that‬ ‭all‬ ‭funding‬ ‭from‬ ‭the‬ ‭Departments‬ ‭of‬ ‭Labor‬ ‭and‬ ‭Health‬ ‭and‬‭Human‬

‭Services—approximately‬ ‭$200‬ ‭million—was‬‭inaccessible‬‭as‬‭of‬‭January‬‭28‬‭and‬‭that‬

‭the‬ ‭state’s‬ ‭inability‬ ‭to‬ ‭access‬ ‭these‬ ‭funds‬ ‭“will‬ ‭have‬ ‭an‬ ‭immediate‬ ‭impact‬ ‭on‬ ‭[its]‬

‭operations‬ ‭and‬ ‭daily‬ ‭activities.”‬ ‭Ex.‬ ‭C‬ ‭at‬ ‭8–9.‬ ‭Defendants‬ ‭cannot‬ ‭hope‬ ‭to‬‭describe‬

‭that‬ ‭sweeping‬ ‭freeze‬ ‭as‬ ‭mere‬ ‭implementation‬ ‭of‬ ‭the‬ ‭relevant‬ ‭executive‬ ‭orders.‬ ‭So‬

‭too,‬‭Colorado‬‭was‬‭unable‬‭to‬‭access‬‭payments‬‭on‬‭open‬‭federal‬‭awards‬‭that‬‭the‬‭state‬

‭uses‬ ‭to‬ ‭fund‬ ‭public‬ ‭safety‬ ‭agencies‬‭such‬‭as‬‭the‬‭Colorado‬‭Department‬‭of‬‭Homeland‬

‭Security‬ ‭and‬ ‭Emergency‬ ‭Management,‬ ‭among‬ ‭others.‬ ‭Id.‬ ‭at‬ ‭30–32.‬ ‭Rhode‬ ‭Island‬

‭was‬ ‭completely‬ ‭unable‬ ‭to‬ ‭access‬ ‭the‬ ‭HHS‬‭Payment‬‭Management‬‭System‬‭“through‬

‭which most federal grant dollars flow.”‬‭Id.‬‭at 109.‬

        ‭As set forth in Exhibit D, ¶ 11, open federal awards to one rural community‬

‭health center remain frozen. If they are not restored in 14 days, the center will have‬

‭to close clinics, local hospitals will experience a “catastrophic” loss of the health‬

‭center’s physicians, the center’s dental services will be “debilitated,” and patients‬

‭will lose care.‬‭Id.‬‭¶¶ 15-16. Some tribes remain unable to log in to their DOJ and‬

‭HUD grant portals even after the Court’s administrative stay and report that if‬

‭they are unable to do so by the end of the week, they will need to lay off‬

‭victim-services employees. Ex. E ¶¶ 17-19. Funds under the Tribal Assistance for‬

‭Needy Families program have not been deposited into another tribe’s account,‬

‭which if not rectified will require furloughing employees by February 10 and will‬




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‭disrupt “essential day-to-day services like healthcare, sanitation, housing and food‬

‭assistance, child safety, and more.”‬‭Id.‬‭¶¶ 26.‬

        ‭As‬ ‭the‬ ‭Court‬ ‭correctly‬ ‭observed‬ ‭at‬ ‭the‬ ‭January‬ ‭28‬ ‭hearing,‬ ‭while‬ ‭the‬

‭government‬‭says‬‭it‬‭is‬‭“limiting‬‭[the‬‭freeze]‬‭to‬‭certain‬‭programs‬‭that‬‭are‬‭the‬‭subject‬

‭of‬‭these‬‭executive‬‭orders‬‭.‬‭.‬‭.‬‭that‬‭doesn’t‬‭seem‬‭to‬‭be‬‭the‬‭way‬‭that‬‭this‬‭is‬‭rolling‬‭out.”‬

‭Tr. of Jan. 28 Hrg. at 11.‬

    ‭C.‬ ‭The Government Purported to “Rescind” the Memo, Then‬
          ‭Announced that the Funding Freeze Remains in Effect‬

        ‭In response to this lawsuit and the Court’s administrative stay, Defendants‬

‭on Wednesday, January 29, purported to rescind Memo M-25-13 through the‬

‭issuance of Memo M-25-14. ECF No. 18-1. Memo M-25-14 states: “OMB‬

‭Memorandum M-25-13 is rescinded. If you have questions about implementing the‬

‭President’s Executive Orders, please contact your agency General Counsel.”‬‭Id.‬

‭That purported rescission was subsequently widely reported on in the press.‬

        ‭Shortly‬ ‭after‬ ‭Memo‬ ‭M-25-14‬ ‭was‬ ‭publicized,‬ ‭White‬ ‭House‬ ‭Press‬ ‭Secretary‬

‭Karoline‬ ‭Leavitt‬ ‭announced‬ ‭on‬ ‭social‬ ‭media‬ ‭that‬ ‭the‬ ‭purported‬ ‭“rescission”‬ ‭of‬‭the‬

‭federal funding freeze was, in fact, “NOT a rescission of the federal funding freeze”:‬




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‭Leavitt,‬ ‭supra‬‭.‬ ‭This‬ ‭social‬ ‭media‬ ‭post‬ ‭explained‬ ‭that‬ ‭Memo‬ ‭M-25-14‬ ‭had‬ ‭issued‬

‭specifically‬ ‭“[t]o‬ ‭end‬ ‭any‬ ‭confusion‬ ‭created‬ ‭by‬ ‭the‬ ‭court’s‬ ‭injunction.”‬ ‭Id.‬ ‭The‬

‭government’s‬ ‭position‬ ‭here‬ ‭is‬ ‭perplexing:‬ ‭If‬ ‭the‬ ‭executive‬ ‭orders‬ ‭alone‬ ‭supposedly‬

‭implemented‬ ‭the‬ ‭federal‬ ‭funding‬ ‭freeze,‬ ‭then‬ ‭why‬‭was‬‭the‬‭Memo‬‭necessary‬‭in‬‭the‬

‭first place?‬

    ‭D.‬ ‭The‬ ‭Government’s‬ ‭Statements‬ ‭and‬ ‭Actions‬ ‭Have‬ ‭Obscured‬ ‭the‬
          ‭Extent of and Basis for Continuing Freezes on Open Awards.‬

        ‭If‬ ‭the‬ ‭government‬ ‭hoped‬ ‭to‬ ‭“end‬ ‭any‬ ‭confusion”‬ ‭about‬ ‭its‬ ‭freeze‬ ‭on‬ ‭open‬

‭awards,‬‭it‬‭failed.‬‭From‬‭the‬‭beginning,‬‭the‬‭government‬‭has‬‭proved‬‭unable‬‭to‬‭answer‬

‭even‬ ‭basic‬ ‭questions‬ ‭about‬ ‭the‬ ‭extent‬ ‭of‬ ‭the‬ ‭freeze.‬ ‭See,‬ ‭e.g.‬‭,‬ ‭Alexander‬ ‭Hutzler,‬

‭ABC‬ ‭News,‬ ‭Trump‬ ‭White‬ ‭House‬ ‭tries‬ ‭to‬ ‭clarify‬ ‭confusion‬ ‭over‬ ‭abrupt‬ ‭federal‬

‭assistance‬                  ‭freeze‬                 ‭(Jan.‬                 ‭28,‬                 ‭2025),‬

‭https://abcnews.go.com/Politics/trump-white-house-clarify-confusion-abrupt-federal-‬

‭assistance/story?id=118184086.‬ ‭The‬ ‭press‬ ‭secretary’s‬ ‭statement‬ ‭that‬ ‭the‬ ‭federal‬

‭funding‬‭freeze‬‭remains‬‭in‬‭effect‬‭has‬‭done‬‭little‬‭to‬‭clarify.‬‭As‬‭noted‬‭above,‬‭Plaintiffs‬


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‭have‬ ‭also‬ ‭continued‬ ‭to‬ ‭receive‬ ‭reports‬ ‭of‬ ‭frozen‬ ‭payments‬ ‭on‬ ‭open‬ ‭awards‬ ‭and‬

‭recipients being unable to access funding portals.‬

        ‭In‬ ‭many‬ ‭cases,‬ ‭the‬ ‭reasons‬ ‭for‬ ‭the‬ ‭continued‬ ‭freeze‬ ‭are‬ ‭unclear.‬ ‭In‬ ‭others,‬

‭the‬‭government‬‭appears‬‭to‬‭be‬‭shifting‬‭to‬‭a‬‭story‬‭that‬‭the‬‭funds‬‭have‬‭been‬‭frozen‬‭not‬

‭in‬ ‭response‬ ‭to‬ ‭OMB’s‬ ‭command‬ ‭in‬ ‭Memo‬ ‭M-25-13‬ ‭but‬ ‭directly‬ ‭by‬ ‭the‬ ‭executive‬

‭orders‬‭cited‬‭in‬‭that‬‭memo.‬‭The‬‭NSF‬‭website,‬‭for‬‭example,‬‭has‬‭now‬‭been‬‭updated‬‭to‬

‭say‬ ‭that‬ ‭“[a]ll‬ ‭NSF‬ ‭grantees‬ ‭must‬ ‭comply‬ ‭with‬ ‭these‬ ‭executive‬ ‭orders‬ ‭[i.e.,‬ ‭those‬

‭cited‬‭in‬‭Memo‬‭M-25-13],‬‭and‬‭any‬‭other‬‭relevant‬‭executive‬‭orders‬‭issued,‬‭by‬‭ceasing‬

‭all‬ ‭non-compliant‬ ‭grant‬ ‭and‬ ‭award‬ ‭activities.”‬ ‭Nat’l‬ ‭Science‬ ‭Foundation,‬ ‭NSF‬

‭Implementation of Recent Executive Orders‬‭, https://new.nsf.gov/executive-orders.‬

        ‭There‬‭is‬‭no‬‭explanation,‬‭however,‬‭of‬‭whether‬‭or‬‭how‬‭all‬‭NSF‬‭grants‬‭relate‬‭to‬

‭those‬ ‭executive‬ ‭orders.‬ ‭Recent‬ ‭reporting‬ ‭states‬ ‭that‬ ‭NSF’s‬‭online‬‭payment‬‭system‬

‭remains‬ ‭down,‬ ‭freezing‬ ‭the‬ ‭salaries‬ ‭of‬ ‭postdoctoral‬ ‭researchers‬ ‭who‬ ‭rely‬ ‭on‬ ‭NSF‬

‭grants. StatNews,‬ ‭National‬ ‭Science‬ ‭Foundation‬ ‭suspends‬ ‭salary‬‭payments,‬‭leaving‬

‭researchers‬        ‭unable‬       ‭to‬     ‭pay‬      ‭their‬      ‭bills‬     ‭(Jan.‬      ‭30‬      ‭2025),‬

‭https://www.statnews.com/2025/01/30/trump-funding-freeze-national-science-founda‬

‭tion-suspends-salary-payments/.‬ ‭The‬ ‭fallout?‬ ‭“One‬ ‭scientist‬ ‭texted‬ ‭his‬ ‭landlord‬ ‭to‬

‭say‬‭February‬‭rent‬‭would‬‭be‬‭late.‬‭Another‬‭wasn’t‬‭able‬‭to‬‭pay‬‭her‬‭credit‬‭card‬‭bill.‬‭Yet‬

‭another wondered how much longer he could afford his mortgage.”‬‭Id.‬

        ‭Another‬‭example:‬‭One‬‭of‬‭Plaintiff‬‭MSA’s‬‭members‬‭remains‬‭locked‬‭out‬‭of‬‭her‬

‭small‬ ‭business‬ ‭funding.‬ ‭Ex.‬ ‭F‬ ‭¶18.She‬ ‭does‬ ‭not‬ ‭receive‬ ‭that‬ ‭funding‬ ‭through‬ ‭the‬

‭Infrastructure‬ ‭Act‬ ‭or‬ ‭the‬ ‭Inflation‬ ‭Reduction‬ ‭Act.‬ ‭It‬ ‭is‬ ‭not‬ ‭foreign‬ ‭aid.‬ ‭It‬ ‭is‬ ‭not‬




                                                      ‭11‬
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‭equity-related.‬‭It‬‭does‬‭not‬‭serve‬‭undocumented‬‭people.‬‭It‬‭is‬‭simply‬‭a‬‭small‬‭business‬

‭grant‬ ‭to‬ ‭help‬ ‭her‬‭company’s‬‭work‬‭on‬‭scientific‬‭research‬‭and‬‭development.‬‭There‬‭is‬

‭no‬‭basis‬‭in‬‭the‬‭executive‬‭orders‬‭Plaintiffs‬‭could‬‭identify‬‭that‬‭explain‬‭why‬‭her‬‭funds‬

‭remain‬ ‭frozen.‬‭The‬‭continued‬‭freeze‬‭gives‬‭the‬‭lie‬‭to‬‭the‬‭idea‬‭that‬‭the‬‭freeze‬‭is‬‭only‬

‭emanating‬ ‭from‬ ‭the‬ ‭executive‬ ‭orders,‬ ‭and‬ ‭to‬ ‭OMB’s‬ ‭“guidance”‬ ‭that‬ ‭small‬

‭businesses‬ ‭will‬ ‭not‬ ‭be‬ ‭affected.‬ ‭And‬ ‭the‬ ‭continued‬ ‭freeze‬ ‭appears‬ ‭to‬ ‭violate‬ ‭this‬

‭Court’s order.‬

        ‭Along‬ ‭similar‬ ‭lines,‬ ‭the‬ ‭states‬ ‭separately‬ ‭challenging‬ ‭OMB’s‬ ‭funding‬ ‭freeze‬

‭submitted‬ ‭additional‬‭evidence‬‭yesterday‬‭that‬‭the‬‭EPA‬‭has‬‭continued‬‭to‬‭implement‬

‭Memo‬ ‭M-25-13‬ ‭not‬ ‭only‬ ‭after‬ ‭the‬ ‭Court‬ ‭entered‬ ‭an‬ ‭administrative‬ ‭stay‬ ‭but‬ ‭even‬

‭after‬ ‭the‬ ‭government’s‬ ‭purported‬ ‭“rescission.”‬ ‭See‬ ‭Ex.‬ ‭A‬ ‭at‬ ‭6.‬ ‭In‬ ‭response‬ ‭to‬

‭inquiries‬ ‭from‬ ‭a‬ ‭private‬ ‭nonprofit‬ ‭and‬ ‭a‬ ‭state‬ ‭agency‬ ‭regarding‬ ‭their‬ ‭continued‬

‭inability‬ ‭to‬ ‭access‬ ‭the‬ ‭Automated‬ ‭Standard‬ ‭Application‬ ‭for‬ ‭Payments‬ ‭system‬‭that‬

‭federal‬ ‭agencies‬ ‭use‬ ‭to‬ ‭disburse‬ ‭federal‬ ‭financial‬ ‭assistance‬ ‭under‬ ‭open‬ ‭awards,‬

‭EPA‬ ‭stated‬ ‭via‬ ‭email‬ ‭that:‬ ‭“EPA‬ ‭is‬ ‭working‬ ‭diligently‬ ‭to‬ ‭implement‬ ‭the‬ ‭Office‬ ‭of‬

‭Management‬‭and‬‭Budget’s‬‭memorandum,‬‭Temporary‬‭Pause‬‭of‬‭Agency‬‭Grant,‬‭Loan,‬

‭and‬ ‭Other‬ ‭Financial‬ ‭Assistance‬ ‭Programs”‬ ‭and‬ ‭that‬ ‭“[t]he‬ ‭agency‬ ‭is‬ ‭temporarily‬

‭pausing‬ ‭all‬ ‭activities‬ ‭related‬ ‭to‬ ‭the‬ ‭obligation‬ ‭or‬ ‭disbursement‬ ‭of‬ ‭EPA‬ ‭Federal‬

‭financial assistance at this time.”‬‭Id‬‭.‬

        ‭Defendants’‬     ‭opposition‬     ‭seeks‬ ‭to‬ ‭characterize‬ ‭the‬ ‭freeze‬ ‭(at‬ ‭3),‬

‭counterfactually,‬ ‭as‬ ‭having‬ ‭always‬ ‭been‬ ‭limited‬ ‭to‬ ‭“funding‬ ‭implicated‬ ‭by‬ ‭the‬

‭President’s‬ ‭executive‬ ‭orders,”‬ ‭even‬ ‭though‬ ‭the‬‭Memo‬‭by‬‭its‬‭terms‬‭ordered‬‭a‬‭freeze‬




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‭on‬ ‭“‬‭all‬ ‭activities‬ ‭related‬ ‭to‬ ‭obligation‬ ‭or‬ ‭disbursement‬ ‭of‬ ‭all‬ ‭Federal‬ ‭financial‬

‭assistance,”‬ ‭Memo‬ ‭at‬ ‭2,‬ ‭and‬ ‭was‬ ‭so‬ ‭understood‬ ‭by‬ ‭the‬ ‭agencies‬ ‭that‬ ‭continued‬ ‭to‬

‭implement‬ ‭it‬ ‭even‬ ‭after‬ ‭this‬ ‭Court‬ ‭had‬ ‭entered‬ ‭an‬ ‭administrative‬ ‭stay,‬ ‭see‬‭Ex.‬‭B.‬

‭(agency‬ ‭instruction‬ ‭to‬ ‭staff‬ ‭that‬ ‭“‬‭all‬ ‭payments‬ ‭of‬ ‭funds‬‭under‬‭open‬‭awards‬‭will‬‭be‬

‭paused‬ ‭as‬ ‭the‬ ‭agency‬ ‭conducts‬ ‭the‬ ‭required‬ ‭reviews‬ ‭and‬ ‭analysis”).‬ ‭This‬

‭characterization‬‭at‬‭best‬‭reflects‬‭the‬‭continued‬‭confusion‬‭caused‬‭by‬‭the‬‭government’s‬

‭hasty and arbitrary action and at worst an unconvincing attempt to rewrite history.‬

                                            ‭ARGUMENT‬

  ‭I.‬   ‭ he Court has jurisdiction over this matter and should deny the‬
         T
         ‭motion to dismiss.‬

            ‭A.‬ ‭Plaintiffs have standing to sue on behalf of themselves and‬
                  ‭their members.‬

         ‭Defendants dispute Plaintiffs’ Article III standing to press this suit. But this‬

‭is not a case where Plaintiffs seek to rely on some attenuated or speculative theory‬

‭of harm. They or their members are direct recipients of federal financial assistance.‬

‭They allege that the M-25-13 funding freeze will abruptly deprive them of those‬

‭funds (or already has, given the flouting of this Court’s stay), causing significant‬

‭disruption and financial harm, and that it targets them or their members based on‬

‭the exercise of their constitutional rights. Whether the allegations in the complaint‬

‭are viewed in isolation or in conjunction with the numerous declarations Plaintiffs‬

‭have submitted, Plaintiffs have easily established their standing to sue on their own‬

‭behalf as well as their associational standing to sue for their members.‬




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       ‭Standing, of course, requires Plaintiffs to establish (1) “injury in fact” that is‬

‭(2) “fairly traceable to the challenged action of the defendant,” and (3) could be‬

‭“redressed by a favorable decision.”‬‭Humane Soc’y of the United States v. United‬

‭States Dep’t of Agric.‬‭, 41 F.4th 564, 567 (D.C. Cir. 2022). To have standing to sue on‬

‭behalf of its members, an association must show that “(a) its members would‬

‭otherwise have standing to sue in their own right; (b) the interests it seeks to‬

‭protect are germane to the organization’s purpose; and (c) neither the claim‬

‭asserted nor the relief requested requires the participation of individual members in‬

‭the lawsuit.”‬‭Metro. Washington Chapter, Associated Builders & Contractors, Inc. v.‬

‭D.C.‬‭, 62 F.4th 567, 572 (D.C. Cir. 2023) (quoting‬‭Hunt v. Wash. State Apple Advert.‬

‭Comm’n‬‭, 432 U.S. 333, 343 (1977)). At the motion-to-dismiss phase, Plaintiffs “need‬

‭only make a plausible allegation of facts establishing each element of standing.”‬

‭Cutler v. HHS‬‭, 797 F.3d 1173, 1179 (D.C. Cir. 2015). Only one Plaintiff need‬

‭establish standing for this case to proceed.‬‭See Massachusetts v. EPA‬‭, 549 U.S. 497,‬

‭518 (2007).‬

       ‭Injury-in-fact.‬‭Plaintiffs have adequately alleged—and their declarations‬

‭further support—that the M-25-13 funding freeze will cause them and their‬

‭members injury-in-fact in the form of substantial constitutional and economic harm.‬

‭Plaintiffs and their members will suffer constitutional injury from the freeze’s direct‬

‭burdening of their First Amendment rights of speech and association.‬‭See‬‭ECF No.‬

‭1 ¶¶ 42, 52-54. They will suffer classic economic harm from the sudden loss of‬




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‭expected payments on outstanding grants, loans, and other forms of federal‬

‭financial assistance.‬‭See id.‬‭¶¶ 31-41;‬‭see also‬‭Dkt. Nos. 5-2, 5-3, 5-4, 5-5; Exs. F–J .‬

       ‭Contrary to Defendants’ absurd suggestion (at 7-8) that Plaintiffs and their‬

‭members are not themselves “the object of the government action . . . [they]‬

‭challenge[],” the challenged freeze will operate directly on Plaintiffs and their‬

‭memberships by halting payments on open awards to which they are entitled. That‬

‭is more than enough to show injury-in-fact.‬

       ‭Defendants wholly ignore Plaintiffs’ allegations of constitutional harm to‬

‭themselves and their members, which on their own suffice to show injury. They‬

‭argue (at 9–10) only that (1) it is “speculative” whether the individual Plaintiffs will‬

‭suffer economic injury from the abrupt loss of federal financial assistance and (2)‬

‭Plaintiffs cannot proceed on behalf of their members because they have not‬

‭identified at least one member. Defendants are wrong on both counts.‬

       ‭First, Plaintiffs have more than met their burden at the motion-to-dismiss‬

‭phase to plausibly allege that an immediate freeze on federal financial assistance‬

‭will cause Plaintiffs themselves economic hardship.‬‭See Cutler‬‭, 797 F.3d at 1179.‬

‭The complaint, for example, alleges that Plaintiff the American Public Health‬

‭Association “has long received federal grants and funds to carry out its mission,”‬

‭such as by helping to fund the National Council for Environmental Health and‬

‭Equity, and that the M-25-13 freeze “would take a wrecking ball to APHA’s public‬

‭health programs that receive federal financial assistance and grants.” ECF No. 1 ¶‬

‭34;‬‭see also‬‭id.‬‭¶ 41 (describing similar harm to Plaintiff SAGE).‬




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       ‭Defendants say (at 9) that these harms are “speculative” because it is‬

‭possible the freeze “could be as short as [a] day,” and OMB can approve programs to‬

‭continue during the freeze. That argument ignores the language of the Memo itself,‬

‭which commands an indefinite and near-immediate halt to “all activities related to‬

‭obligation or disbursement of all Federal financial assistance,” Memo at 2, in order‬

‭to facilitate a review of all such programs. The Memo itself recognizes that this‬

‭review will take time; it gives agencies until February 10, 2025, to identify the‬

‭assistance programs they have frozen. And, of course, for some recipients, it is clear‬

‭that the “pause” will be anything but, and that their funding, once frozen, will not‬

‭resume. Indeed, the declarations submitted here demonstrate that the pause has‬

‭not, in fact, been as short as a day—even during the Court-ordered stay thereof.‬

       ‭Second, even assuming that Plaintiffs were required to identify specific‬

‭injured members in order to establish their associational standing,‬‭but see Advocs.‬

‭for Highway & Auto Safety v. Fed. Motor Carrier Safety Admin.‬‭, 41 F.4th 586,‬

‭593-94 (D.C. Cir. 2022) (individual member need not be identified for associational‬

‭standing where “standing is . . . apparent from the administrative record”‬

‭(quotation marks omitted)), they have done so,‬‭see‬‭Exs. F–H, K.‬‭10‬ ‭Plaintiffs‬

‭therefore have shown their associational standing to press claims on behalf of their‬

‭members.‬‭See Chamber of Com. of U.S. v. EPA‬‭, 642 F.3d 192, 200 (D.C. Cir. 2011)‬
‭10‬
        ‭ ven at the merits stage, an association may establish standing even though its‬
        E
‭identified members are anonymous.‬‭See Advocs. for Highway & Auto Safety‬‭, 41‬
   ‭F.4th at 594 (“anonymity is no barrier to standing on this record”) (citing‬‭NB ex rel.‬
    ‭Peacock v. District of Columbia‬‭, 682 F.3d 77, 86 (D.C. Cir. 2012)). Plaintiffs are‬
     ‭already experiencing a real threat of harassment and retaliation,‬‭see infra‬‭at 36;‬
 ‭accordingly member declarations are submitted in redacted form to protect their‬
  ‭anonymity.‬

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‭(finding associational standing where plaintiff, “[a]long with its briefs, . . .‬

‭submitted declarations from two of its . . . members alleging injury”).‬

       ‭Causation.‬‭The injuries Plaintiffs allege would be the direct result of the‬

‭challenged M-25-13 freeze and thus Plaintiffs have shown causation sufficient to‬

‭establish their standing. Defendants disagree (at 10) on the grounds that OMB’s‬

‭command to agencies to freeze funds would not be the cause of those agencies‬

‭freezing funds and, anyway, the Memo instructs them to act only “to the extent‬

‭permissible under applicable law.” As explained in more detail elsewhere,‬‭see infra‬

‭at 22-24, the Memo was not a suggestion but a command to agencies, and they have‬

‭treated it as such. It left agencies with no discretion whether or not to follow its‬

‭clear command, and therefore Defendants’ cited cases (at 10) involving “the‬

‭independent action” of third parties “exerci[sing] discretion” are inapplicable here.‬

‭So too, and as further explained below in Section II.A.2, the Memo’s inclusion of the‬

‭boilerplate phrase “to the extent permissible under applicable law” does not insulate‬

‭it from review, and certainly does not show that injuries resulting from‬

‭implementation of the M-25-13 freeze were not caused by that freeze.‬

       ‭Redressability‬‭. The relief Plaintiffs seek, including an injunction on‬

‭implementation of the M-25-13 funding freeze, clearly would redress the injuries‬

‭from that freeze going into effect. Defendants’ only response (at 11) is to speculate‬

‭that even if the Court enjoined Defendants’ implementation of the freeze, other‬

‭agencies might still exercise their authority to broadly freeze funds. But the mere‬

‭possibility that another actor might inflict similar harms on Plaintiffs does not show‬




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‭a lack of standing here. Nor have Defendants claimed that any other agency would‬

‭have the authority to impose the sweeping freeze that Defendants ordered.‬‭11‬

           ‭B.‬ ‭This case is not moot.‬

       ‭Defendants next contend that their purported rescission of Memo M-25-13‬

‭renders this case moot. But that assertion misapprehends the nature of Plaintiffs’‬

‭claims and the relief they seek. Moreover, it is contradicted by the facts on the‬

‭ground, including the government’s own statements that it has‬‭not‬‭rescinded “the‬

‭federal funding freeze,” Leavitt,‬‭supra‬‭, and its continued pause on open awards.‬

‭The only other court to review OMB’s action after the purported rescission has‬

‭indicated that it agrees and entered preliminary relief shortly before Plaintiffs‬

‭submitted this filing.‬‭See‬‭Order Granting TRO at 10-11,‬‭New York v. Trump‬‭,‬

‭No. 1:25-cv-00039 (D.R.I. Jan. 31, 2025).‬

       ‭If the government is, as it appears, continuing to “implement or enforce” the‬

‭funding freeze announced in Memo M-25-13, then Plaintiffs’ need for a temporary‬

‭restraining order remains not only live but pressing, and Defendants’ purported‬

‭“rescission” amounts to no more than an effort to evade the Court’s review via‬

‭(supposed) voluntary cessation. For two related reasons, Plaintiffs’ request for relief‬

‭remains live.‬

‭11‬
        ‭Defendants offer no argument that Plaintiffs lack associational standing on‬
‭ ermaneness grounds or because the participation of individual members is‬
g
‭required here.‬‭See Metro. Washington Chapter, Associated Builders & Contractors‬‭,‬
 ‭62 F.4th at 572. That concession is sound. The interests Plaintiffs seek to protect‬
  ‭here are germane to their institutional purposes of supporting their members’‬
   ‭ability to advance their missions, which for many depends on being able to compete‬
    ‭for and receive federal financial assistance.‬‭See, e.g.‬‭, ECF No. 1 ¶¶ 1-3. Nor is there‬
     ‭any reason the participation of any particular member is required in this case.‬

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       ‭First, it is well established that “[a] defendant’s voluntary cessation of‬

‭allegedly unlawful conduct ordinarily does not suffice to moot a case.”‬‭Friends of the‬

‭Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc.‬‭, 528 U.S. 167, 174 (2000). This is just‬

‭what Defendants claim has happened here: In response to this lawsuit and the‬

‭Court’s stay order, they say they have rescinded Memo M-25-13 and ceased the‬

‭allegedly unlawful conduct. But basic principles of voluntary cessation make clear‬

‭that alone is not enough to thwart this Court’s jurisdiction (let alone evade its‬

‭administrative stay). Particularly in light of the government’s shifting actions and‬

‭explanations with respect to the funding freeze, Plaintiffs can have no assurances‬

‭that the government will not simply resume implementing and enforcing the‬

‭challenged policy going forward—assuming they fully stopped at all.‬

       ‭The doctrine of voluntary cessation carries particular force in circumstances‬

‭where “the facts . . . suggest” an attempt at “manipulation of [the Court’s]‬

‭jurisdiction.”‬‭Pub. Citizen, Inc. v. FERC‬‭, 92 F.4th 1124, 1128 (D.C. Cir. 2024)‬

‭(quoting‬‭City News & Novelty, Inc. v. City of Waukesha‬‭, 531 U.S. 278, 284 (2001))‬

‭(internal quotation marks omitted);‬‭see also Alaska v. United States Dep’t of Agric.‬‭,‬

‭17 F.4th 1224, 1229 (D.C. Cir. 2021) (explaining that voluntary cessation doctrine‬

‭applies to federal agencies in circumstances where the government “act[ed] in order‬

‭to avoid litigation” (quotation marks and citation omitted)). In those situations, “the‬

‭prospect of manipulation gives us reason to doubt the party’s claims that it will not‬

‭resume the challenged activity once the court dismisses the challenge.”‬‭Id.‬




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      ‭Here, the government has all but admitted to engaging in just such an‬

‭attempt. It has said that, notwithstanding the Court’s stay and the purported‬

‭“rescission,” the freeze of Federal funds announced in Memo M-25-13 remains in‬

‭effect, and the only purpose of the “rescission” was “to end any confusion” about the‬

‭Court’s order.‬‭See‬‭Leavitt,‬‭supra‬‭. The Court should not brook the government’s‬

‭transparent efforts to evade the force and effect of its stay order or thwart its‬

‭jurisdiction to resolve this continuing dispute.‬

      ‭Second, Defendants have not fully stopped the challenged implementation.‬

‭As described above, the White House publicly announced that the rescission of the‬

‭document is not a rescission of the policy announced in that document and,‬

‭consistent with that announcement, payments on at least some open awards remain‬

‭frozen, even those entirely unrelated to the substance of the executive orders cited‬

‭in the Memo. As of yesterday, the EPA was informing recipients that it continued to‬

‭implement the Memo. Ex. A at 6.‬

      ‭If the government is continuing the funding freeze ordered in Memo M-25-13,‬

‭then plainly it has not ceased the challenged conduct, Plaintiffs’ need for immediate‬

‭relief remains live and pressing, and the Court should decline to dismiss this case‬

‭and instead, as originally requested, enter an order barring Defendants from‬

‭“implementing or enforcing” Memo M-25-13—including by continuing to carry out‬

‭the policy described and ordered in that document, even after its supposed‬

‭“rescission.”‬‭See‬‭ECF No. 5-6 at 2. The Court should also order Defendants to file‬




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‭regular status reports describing their efforts to ensure Memo M-25-13 is no longer‬

‭being implemented or enforced across the government.‬‭See id.‬

        ‭The cases on which the government relies (at 6) misapprehend Plaintiffs’‬

‭requested relief. In‬‭Row 1 Inc. v. Becerra‬‭, 92 F.4th 1138, 1141 (D.C. Cir. 2024), the‬

‭court found that a request to vacate a contested policy was moot after the policy had‬

‭been rescinded. But Plaintiffs did not merely seek the vacation of the Memo—they‬

‭sought an order barring OMB from‬‭implementing‬‭it.‬‭See‬‭Compl., Dkt. 1 (request for‬

‭relief). Indeed, in‬‭Row 1‬‭itself—the very case the government cites—the court found‬

‭that allegations that contractors continued to apply the terms of the rescinded‬

‭letters were‬‭not‬‭moot. 92 F.4th at 1145. So too here. And‬‭Friends of Animals v.‬

‭Bernhardt‬‭involved “the government’s abandonment of a challenged [policy]” that‬

‭the Court found it was “inconceivable that the [agency] will attempt to reinstate.”‬

‭961 F.3d 1197, 1203 (D.C. Cir. 2020). Here there has been no such abandonment.‬

‭II.‬   ‭Plaintiffs have shown the need for a temporary restraining order.‬

        ‭The Court should enter a temporary restraining order enjoining Defendants‬

‭from implementing or enforcing the freeze described and ordered in Memo M-25-13.‬

‭Plaintiffs are likely to succeed on the merits of their claims. Without relief, they and‬

‭their members will suffer irreparable injury in the form of per se harm to core First‬

‭Amendment rights, the impairment of their ability to carry out their primary‬

‭organizational missions, and economic harms severe enough to threaten their very‬

‭existence. A temporary restraining order is also in the public interest.‬




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   ‭A.‬ ‭Plaintiffs are likely to succeed on the merits.‬

       ‭Plaintiffs not only state a claim as to their three APA challenges, they are‬

‭likely to succeed on each.‬

          ‭1.‬ ‭The federal funding freeze is final agency action subject to‬
                ‭review.‬

       ‭The M-25-13 funding freeze constitutes a final agency action subject to this‬

‭Court’s review under the Administrative Procedure Act. To be final, agency action‬

‭must (1) “mark the consummation of the agency’s decisionmaking process” and (2)‬

‭determine rights or obligations or otherwise impose “legal consequences.”‬‭Bennett v.‬

‭Spear‬‭, 520 U.S. 154, 178 (1997) (internal quotations and citations omitted).‬

‭Defendants dispute only whether the Memo’s funding freeze satisfies the second‬

‭element. Plainly it does.‬

       ‭Recipients of federal financial assistance such as open grants and loans have‬

‭the right to access funds made available pursuant to the terms of those agreements‬

‭unless and until the grant or loan is lawfully modified or terminated. Courts thus‬

‭agree that decisions involving the approval of a particular grant or the terms on‬

‭which grants will be extended constitute final agency action.‬‭See, e.g.‬‭,‬‭Louisiana v.‬

‭U.S. Env’t Prot. Agency‬‭, 712 F. Supp. 3d 820, 851 (W.D. La. 2024) (“[C]ourts‬

‭consider the grant of funds as a final agency action.”);‬‭Planned Parenthood of New‬

‭York City, Inc. v. U.S. Dep’t of Health & Hum. Servs.‬‭, 337 F. Supp. 3d 308, 329‬

‭(S.D.N.Y. 2018) (“[C]ourts routinely hold that agency action is final where it affects‬

‭grant eligibility criteria.”);‬‭City of Philadelphia v. Sessions‬‭, 309 F. Supp. 3d 271,‬

‭279–80 (E.D. Pa. 2018) (finding final agency action where “DOJ publicly announced‬


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‭that all grant recipients must comply with” certain new conditions). Whether‬

‭thought of as an (unlawful) modification to the terms of open awards, the imposition‬

‭of new conditions on federal financial assistance, or (for many recipients) the‬

‭termination of federal funding, the funding freeze ordered by Memo M-25-13‬

‭straightforwardly imposes legal consequences for recipients.‬

       ‭The M-25-13 freeze is final agency action for another reason as well: It‬

‭effectively “binds” the agencies to which it is directed, “withdraw[ing] [their]‬

‭previously-held discretion” with respect to open awards by requiring them to‬

‭“pause” disbursements and, ultimately, terminate some number of them.‬‭Scenic‬

‭Am., Inc. v. United States Dep’t of Transportation‬‭, 836 F.3d 42, 56 (D.C. Cir. 2016)‬

‭(citing‬‭NRDC v. EPA‬‭, 643 F.3d 311, 320 (D.C. Cir. 2011));‬‭cf. Am. Wild Horse‬

‭Campaign v. Bernhardt‬‭, 442 F. Supp. 3d 127, 149 (D.D.C. 2020) (“‬‭Bennett‬‭’s second‬

‭prong is satisfied by legal consequences that affect only the agency itself.”),‬‭aff’d‬‭,‬

‭850 F. App’x 14 (D.C. Cir. 2021). By requiring that agencies “‬‭must temporarily‬

‭pause‬‭all activities related to obligation or disbursement of all Federal financial‬

‭assistance,” Memo at 2, the Memo’s edict binds those agencies’ previously held‬

‭discretion. For this reason as well, the M-25-13 funding freeze is subject to review‬

‭as final agency action.‬

       ‭Defendants resist this conclusion (at 14) by suggesting that the Memo did not‬

‭itself determine anything, but merely offered “general guidance” to agencies. That‬

‭claim is borderline frivolous. The Memo’s command was clear: “Federal agencies‬

‭must temporarily pause‬‭all activities related to obligation or disbursement of all‬




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‭Federal financial assistance.” Memo at 2. It left no room for the exercise of agency‬

‭discretion (beyond the boilerplate insertion that they act “to the extent permissible‬

‭by law,”‬‭id.‬‭). Not surprisingly, it was understood by agencies as a command to be‬

‭promptly carried out—apparently even after the Court issued an administrative‬

‭stay.‬‭See‬‭Ex. B;‬‭see also generally Gen. Elec. Co. v. EPA‬‭, 290 F.3d 377, 383 (D.C. Cir.‬

‭2002) (“Our cases likewise make clear that an agency pronouncement will be‬

‭considered binding as a practical matter if it either appears on its face to be binding‬

‭or is applied by the agency in a way that indicates it is binding.” (internal citations‬

‭omitted)).‬

       ‭The cases the government cites (at 14) do not help them here, as they all‬

‭found that final agency action was not present in “a planning document,”‬‭Vill. of‬

‭Bensenville v. Fed. Aviation Admin.‬‭, 457 F.3d 52, 69 (D.C. Cir. 2006), or where “the‬

‭agency retained discretion,”‬‭Ctr. for Auto Safety v. Nat’l Hwy. Traffic Safety Admin.‬‭,‬

‭452 F.3d 798, 809–10 (D.C. Cir. 2006), or where it set forth “contingenc[ies],”‬‭Fund‬

‭for Animals, Inc. v. Bureau of Land Mgmt.‬‭, 460 F.3d 13, 22 (D.C. Cir. 2006). These‬

‭findings are all irrelevant in considering the clear directive here.‬

       ‭Even if Defendants were correct that the Memo should be read as a mere‬

‭suggestion to further action, that would not save Defendants because agency action‬

‭need not be the final or most proximate cause of legal consequences to qualify as‬

‭reviewable final agency action.‬‭See, e.g.‬‭,‬‭Nat’l Min. Ass’n v. Jackson‬‭, 768 F. Supp.‬

‭2d 34, 41–45 (D.D.C. 2011) (rejecting claim that agency guidance documents‬




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‭concerning permitting were “not final because they do not [themselves] mark the‬

‭grant or denial of the various permits at issue”).‬

       ‭As an ancillary point, the government suggests (at 15) that Plaintiffs’‬

‭challenge is inappropriate because it would require court supervision of compliance.‬

‭But the government is wrong in saying that the Court cannot fashion tailored relief.‬

‭Indeed, it has already done so. And an order permanently enjoining Defendants‬

‭from implementing the allegedly rescinded Memo would neither be unusual nor‬

‭difficult to oversee. The government should not be permitted to rely on the chaos it‬

‭has created by flouting this Court’s stay, and declaring that the supposed rescission‬

‭is no rescission at all, to say that relief cannot be fashioned.‬

       ‭Finally, in arguing that there is not a basis of agency action on which to bring‬

‭a challenge, the government spills a great deal of ink (at 11–15) on the propriety of‬

‭the executive orders themselves, and agency implementation. This fundamentally‬

‭misapprehends Plaintiffs’ claims. As set forth above, the federal funding freeze‬

‭emanates from the Memo—not the executive orders—and it is the continued‬

‭implementation of the Memo of which Plaintiffs complain.‬‭12‬




‭12‬
        ‭ he government also complains (at 15) that Plaintiffs are making a “blunderbuss‬
        T
‭challenge” with “amorphous, generalized claims.” This again misapprehends‬
 ‭Plaintiffs’ claims, which target specific agency action and lay out three ways that‬
  ‭action is legally deficient. The mere fact that Defendants’ action is so consequential‬
   ‭does not shield it from review. And this APA challenge to a specific agency directive‬
    ‭bears little resemblance to the cases the government cites, which concerned‬
     ‭agencies’ compliance with the broad, general terms of their authorizing statutes.‬

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          ‭2.‬ ‭The freeze is not saved by the inclusion of the phrase “to the‬
                ‭extent permissible under applicable law.”‬

       ‭Defendants seek shelter (at 17-19) in the fact that the Memo directs agencies,‬

‭in “temporarily paus[ing]‬‭all‬‭activities related to‬‭obligation or disbursement of‬‭all‬

‭Federal financial assistance” on 24 hours’ notice, an action that OMB itself‬

‭recognized could implicate trillions of dollars in disbursements, to do so only “to the‬

‭extent permissible under applicable law.” (emphasis added). As Plaintiffs explained,‬

‭ECF No. 5-1 at 9, and Defendants fail to rebut, the inclusion of that boilerplate‬

‭cannot possibly insulate the M-25-13 from attack, particularly when the clear effect‬

‭of the Memo would be—and, indeed, was—to initiate a broad freeze of open awards‬

‭without particularized review. Such particularized review would have been‬

‭impossible in any event.‬

       ‭Defendants get nowhere relying on‬‭Building and Construction Trades‬

‭Department, AFL-CIO v. Allbaugh‬‭, 295 F.3d 28, 30 (D.C.‬‭Cir. 2002). That case‬

‭concerned an order directing agencies to take certain actions with respect to bids on‬

‭construction projects, “to the extent permitted by law.”‬‭Id.‬‭at 29. That case therefore‬

‭involved a starkly different factual context from this case. A qualifier such as “to the‬

‭extent permissible” may well have real effect in the slow-moving and complex world‬

‭of government contracting, where officials have an opportunity to consider and‬

‭apply any relevant provisions of law. Memo M-25-13’s arbitrary deadline and‬

‭confused rollout effectively guaranteed that agencies would not have the same‬

‭opportunity here.‬




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       ‭And even if it were realistic that the phrase “to the extent permissible under‬

‭applicable law” could have been given any real effect in the circumstances here, that‬

‭would not preserve the M-25-13 from being held unlawful as arbitrary and‬

‭capricious. The mere fact the OMB (in its telling) did not order agencies to do‬

‭something unlawful would not itself establish that OMB’s directive satisfied the‬

‭basic standards of rationality required by the APA.‬

          ‭3.‬ ‭Plaintiffs are likely to succeed on their claim that Defendants‬
                ‭lacked statutory authority for the freeze.‬

       ‭In response to Plaintiffs’ observation that the M-25-13 freeze is “in excess of‬

‭statutory jurisdiction, authority, or limitations, or short of statutory right,” 5 U.S.C.‬

‭§ 706(2)(C), and thus unlawful, Defendants point (at 21–22) to a single statutory‬

‭provision: 31 U.S.C. § 503(a). That provision sets out in highly general terms OMB’s‬

‭areas of responsibility, such as “establishing financial management policies and‬

‭requirements” and “[i]ssu[ing] such other policies and directives as may be‬

‭necessary to carry out this section.” § 503(a)(2), (14).‬

       ‭Nothing in Section 503(a), however, specifically authorizes issuance of a‬

‭near-government-wide, indefinite freeze on essentially all federal financial‬

‭assistance programs. And as the government is surely aware, “[a]n agency’s general‬

‭rulemaking authority plus statutory silence does not . . . equal congressional‬

‭authorization.”‬‭Merck & Co. v. HHS‬‭, 385 F. Supp. 3d 81, 92 (D.D.C. 2019),‬‭aff’d‬‭, 962‬

‭F.3d 531 (D.C. Cir. 2020). “The D.C. Circuit has echoed these principles in multiple‬

‭settings, stating that provisions like those at issue here do not supply an agency‬

‭carte blanche authority to promulgate rules on any matter relating to its enabling‬


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‭statute.”‬‭Id.‬‭(collecting cases) (internal quotations and citations omitted). There is‬

‭particular reason for skepticism about the agency’s assertion of authority here given‬

‭the vast practical and economic consequences that it would entail.‬‭Cf. Util. Air‬

‭Regul. Grp. v. EPA‬‭, 573 U.S. 302, 324 (2014) (“We expect Congress to speak clearly‬

‭if it wishes to assign to an agency decisions of vast economic and political‬

‭significance.” (quotation marks and citations omitted)).‬

       ‭Defendants thus resort (at 20–21) to explaining that OMB is an important‬

‭budgetary agency. Set aside for a moment that Defendants’ arguments here appear‬

‭flatly inconsistent with their suggestion elsewhere that agencies retain discretion to‬

‭simply ignore OMB’s command. OMB’s general purposes are not sufficient to‬

‭establish that it possesses the statutory authority it alleges here—particularly‬

‭given the numerous other statutes that more specifically govern the various‬

‭assistance programs OMB acted to freeze.‬‭See Michigan v. EPA‬‭, 268 F.3d 1075,‬

‭1083–84 (D.C. Cir. 2001) (holding that EPA’s purposes and general authorities did‬

‭not convey “some default authority” to act other than as specified in statute).‬

       ‭Defendants also assert (at 21) that “temporary pauses in obligations or‬

‭payments of appropriations are quite common.” But past practice is no substitute‬

‭for actual statutory authority. And anyway, Defendants muster no precedent‬

‭remotely resembling the broad, indefinite freeze OMB ordered.‬

       ‭Defendants’ one case,‬‭City of New Haven, Conn. v. United States‬‭, actually‬

‭undermines their position. 809 F.2d 900 (D.C. Cir. 1987). It treated as‬

‭noncontroversial “routine ‘programmatic’ deferrals [of payments], by which the‬




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‭Executive Branch attempts to meet the inevitable contingencies that arise in‬

‭administering congressionally-funded agencies and programs.”‬‭Id‬‭. at 901. But the‬

‭actual subject of the decision were four discrete “policy” deferrals, undertaken not‬

‭for administrative reasons but “to advance the broader fiscal policy objectives of the‬

‭Administration.”‬‭Id.‬‭Far from being accepted as legitimate, the maneuver was‬

‭rejected by both the judicial branch, which held invalid the law under which the‬

‭administration had acted, and Congress, which passed legislation “overturning the‬

‭challenged deferrals.”‬‭Id.‬‭at 902.‬‭13‬ ‭Defendants’ authorities are inapposite, their‬

‭attempt (at 21) to minimize an‬‭indefinite‬‭funding free as “short-term” is inaccurate,‬

‭and their claim to authority finds no basis in law.‬

          ‭4.‬ ‭Plaintiffs are likely to succeed on their claim that the freeze is‬
                ‭arbitrary and capricious.‬

       ‭Defendants’ attempt to rehabilitate the Memo on arbitrary and capricious‬

‭grounds fail too. They first say (at 22) the action cannot be arbitrary because it‬

‭seeks to carry out the President’s priorities. By that logic, any action taken to‬

‭advance the administration’s goals would be rational. Defendants next claim the‬

‭Memo is saved because it explains that its purpose is to “safeguard valuable‬

‭taxpayer resources” and allow for review of existing awards. But the APA requires‬

‭that agencies, when pursuing their policy goals, must act reasonably. Agencies fail‬


‭13‬
      ‭Similarly,‬‭James R. Jones, House of Representatives‬‭, B-203057 L/M, 1981 WL‬
 ‭ 3385 (Comp. Gen. Sept. 15, 1981), addressed minor programmatic deferrals‬
 2
 ‭necessary for ordinary administration of the budget—not anything like the‬
  ‭sweeping and indefinite pause, for policy reasons, at issue here. As the‬
   ‭government’s own citation (at 21) reflects,‬‭James R. Jones‬‭is about funds that were‬
‭unobligated‬‭—unlike the open grants at issue here.‬

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‭to clear that bar where they have “entirely failed to consider an important aspect of‬

‭the problem.”‬‭Motor Vehicle Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins. Co‬‭.,‬

‭463 U.S. 29, 43 (1983). As detailed below in Section III, OMB’s hasty, sweeping,‬

‭indefinite freeze on open awards threatens to cause and has already caused‬

‭immense disruption and genuine suffering. The Memo, even while recognizing that‬

‭it risks affecting trillions of dollars in financial assistance, entirely fails to take into‬

‭account the obvious and immediate harms produced by abruptly halting that‬

‭assistance. For this reason alone it is arbitrary and capricious.‬

       ‭Defendants’ other arguments fare no better. Contrary to Defendants’‬

‭apparent belief (at 23), Plaintiffs are not arguing that the Memo was required to go‬

‭through notice and comment—only that it had to meet basic standards of‬

‭rationality and did not. Defendants also express doubt (at 23) that the funding‬

‭freeze implicates any genuine reliance interests that OMB was required to consider.‬

‭This argument fails for reasons that have already been explained: The reliance‬

‭interests at stake were enormous and obvious, an indefinite pause (which will not‬

‭be a “pause” at all for some recipients) cannot accurately be characterized as‬

‭“temporary,” and the Memo left agencies with no discretion to take reliance‬

‭interests into account in implementing the freeze.‬

       ‭The government relies entirely on‬‭Solenex LLC‬‭v.‬‭Bernhardt‬‭, 962 F.3d 520‬

‭(D.C. Cir. 2020), in opposing that argument. But the reliance on‬‭Solenex‬‭is‬

‭misplaced. In that case, the court explained that the reliance interests the plaintiff‬

‭flagged “were, in fact, specifically considered and addressed by the Secretary.”‬‭Id.‬‭at‬




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‭529. Not so here. The government contends (at 23) that there may be only a reliance‬

‭interest in the‬‭receipt‬‭of funding, and not the‬‭timing‬‭of the receipt. But it offers no‬

‭support for that proposition. And indeed, that misconception only underscores the‬

‭paucity of OMB’s analysis on this score. Had OMB actually considered whether‬

‭grant recipients might rely on receiving funds in a timely manner, it would have‬

‭realized that many grant recipients specifically rely on funding being disbursed, as‬

‭scheduled, to make payroll, maintain their programming, and keep their doors‬

‭open.‬‭See‬‭Ex. I ¶¶ 5-7; Ex. F ¶¶ 19-24; Ex. G ¶¶ 21-24; Ex. H ¶¶ 12-13; Ex. E ¶¶‬

‭17-26; Ex. D ¶¶ 4-16.‬

       ‭Lastly on this point, Defendants have no answer to Plaintiffs’ argument,‬

‭see ‭E
      ‬ CF No. 5-1 at 8, that the M-25-13 freeze is arbitrary for the additional reasons‬

‭that the agency failed to explain why its sweeping freeze had to be implemented on‬

‭24-hours’ notice rather than a reasonable time frame that would at least give‬

‭recipients some time to prepare and plan accordingly. Likewise, Defendants failed‬

‭to provide any cogent explanation for why any “assessment” required by executive‬

‭orders—which, to be clear, would still be narrower in scope than the freeze‬

‭mandated by the Memo—could not have occurred while funding continues‬

‭disbursement as usual.‬

          ‭5.‬ ‭Plaintiffs are likely to succeed on their claim that the freeze‬
                ‭violates the First Amendment.‬

       ‭Memo M-25-13 orders a “pause” of all federal financial assistance in order to‬

‭facilitate the identification of and, ultimately, termination of funding for certain‬

‭recipients. Both the Memo and related actions by the government, including the‬


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‭executive orders cited in the Memo, establish that recipients will be targeted for loss‬

‭of funds not merely on the basis of the activities for which they receive funds but for‬

‭those recipients’ unrelated exercise of their First Amendment rights. The Memo‬

‭denounces “Marxist equity, transgenderism, and green new deal social engineering‬

‭policies” and announces a dedication to “ending ‘wokeness”’ (without defining any of‬

‭these terms). It purports to implement an executive order devoted to excoriating‬

‭“gender ideology.”‬‭Defending Women from Gender Ideology‬‭(Jan. 20, 2025). In‬

‭remarks about the Memo, the White House press secretary emphasized that the‬

‭policy’s target was funding “for transgenderism and wokeness.” WhiteHouse.gov,‬

‭Press Briefing by Press Secretary Katherine Leavitt‬‭(Jan. 29, 2025),‬

‭https://www.whitehouse.gov/briefings-statements/2025/01/press-briefing-by-press-se‬

‭cretary-karoline-leavitt/.‬

       ‭These sweeping, vague, and hostile denunciations of those holding different‬

‭views than the administration on matters of deep political conviction and personal‬

‭conscience cannot be understood as anything but a promise that dissenters will be‬

‭punished through the loss of already awarded federal financial assistance. That‬

‭policy directly burdens the exercise of core First Amendment rights of speech and‬

‭association, having no bearing on the purposes for which federal financial‬

‭assistance was extended or the recipient’s continued fitness to receive such‬

‭assistance under the terms of the program. It cannot be squared with the‬

‭Constitution.‬




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       ‭The unconstitutional conditions doctrine provides that “the Government ‘may‬

‭not deny a benefit to a person on a basis that infringes his constitutionally protected‬

‭. . . freedom of speech even if he has no entitlement to that benefit.’”‬‭Agency for Int’l‬

‭Dev. v. All. for Open Soc’y Int’l, Inc.‬‭, 570 U.S. 205, 214 (2013) (“‬‭USAID‬‭”).‬

‭Defendants seek (at 24-25) to hide behind the principle that “the government may‬

‭place speech-restrictive conditions on participation in its programs if those‬

‭conditions are confined to the scope of the program.”‬‭Archdiocese of Washington v.‬

‭Washington Metro. Area Transit Auth.‬‭, 897 F.3d 314, 336 (D.C. Cir. 2018);‬‭see also‬

‭USAID‬‭, 570 U.S. at 217 (“Congress can, without offending the Constitution,‬

‭selectively fund certain programs to address an issue of public concern, without‬

‭funding alternative ways of addressing the same problem.” (citing‬‭Rust v. Sullivan‬‭,‬

‭500 U.S. 173 (1991)). That principle is no help to Defendants here.‬‭14‬

       ‭The government’s targeting of current recipients who are in some way‬

‭associated with “wokeness,” “transgenderism,” “gender ideology,” and “Marxist‬

‭equity” is plainly not an effort to “specify the activities Congress wants to subsidize”‬

‭via the countless and varied grant programs to which the M-25-13 freeze applies.‬

‭USAID‬‭, 570 U.S. at 214. Those programs themselves, along with application‬

‭statutes, regulations, and agency guidance, define the activities they are meant to‬

‭subsidize. Current recipients of federal financial assistance have already, by‬

‭definition, established that they are engaged in “activities Congress wants to‬
‭14‬
     ‭ efendants also argue (at 24-25) that the “pause” does not implicate the First‬
     D
   ‭Amendment because it “applies evenly to‬‭all‬‭recipients‬‭in the programs implicated‬
‭by the President’s Executive Orders.” But even if the pause did apply only (and‬
 ‭“equally”) to all disfavored speakers, that would not save it from First Amendment‬
  ‭challenge.‬

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‭subsidize.” The M-25-13 freeze announces that the executive branch nonetheless‬

‭will‬‭not‬‭fund them, on the ground that it disagrees with their positions on matters‬

‭protected by the First Amendment. Grant recipients that for years have received‬

‭federal funding to carry out beneficial activities that Congress has chosen to‬

‭subsidize need fear that money disappearing simply because the administration in‬

‭some way associates them with undefined pejoratives such as “wokeness.”‬

       ‭Because the freeze will deprive existing recipients of funding they have‬

‭already been determined eligible for, it cannot be defended as merely defining what‬

‭sorts of activities are eligible for federal subsidy.‬‭Cf. Westchester Legal Servs., Inc. v.‬

‭Westchester Cnty.‬‭, 607 F. Supp. 1379, 1382-84 (S.D.N.Y. 1985) (granting‬

‭preliminary injunction where government actor cancelled existing contract because‬

‭of recipient’s exercise of protected First Amendment rights).‬

   ‭B.‬ ‭Without a temporary restraining order, Plaintiffs, their members,‬
         ‭and many others will be irreparably harmed.‬

          ‭1.‬ ‭The freeze will inflict per se constitutional harm by stifling the‬
                ‭rights of free speech and association.‬

       ‭It is well established by both the Supreme Court and the D.C. Circuit that‬

‭“[t]he loss of First Amendment freedoms, for even minimal periods of time,‬

‭unquestionably constitutes irreparable injury‬‭.”‬‭Roman Cath. Diocese of Brooklyn v.‬

‭Cuomo‬‭, 592 U.S. 14, 19 (2020) (emphasis added) (quoting‬‭Elrod v. Burns‬‭, 427 U.S.‬

‭347, 373 (1976) (plurality opinion)); a‬‭ccord Pursuing Am.’s Greatness v. FEC‬‭, 831‬

‭F.3d 500, 511 (D.C. Cir. 2016). As explained, the M-25-13 freeze poses just such a‬

‭threat to protected freedoms and therefore will cause irreparable harm to Plaintiffs,‬



                                             ‭34‬
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‭their members, and others. Defendants fail even to address this controlling‬

‭precedent or the constitutional harms their actions threaten.‬

          ‭2.‬ ‭The freeze will inflict irreparable harm by preventing‬
                ‭Plaintiffs from carrying out their primary missions.‬

       ‭Plaintiffs explained in their motion that without a temporary restraining‬

‭order they “will also suffer concrete, and indeed existential injuries to their mission,‬

‭as entire programs will simply disappear.” ECF No. 5-1 at 12. Defendants again‬

‭have no answer to this, yet “the D.C. Circuit has confirmed” that “‘obstacles’ that‬

‭‘unquestionably make it more difficult for [an organization] to accomplish [its]‬

‭primary mission . . . provide injury for purposes‬‭both‬‭of standing and irreparable‬

‭harm.’”‬‭Whitman-Walker Clinic, Inc. v. HHS‬‭, 485 F. Supp. 3d 1, 56 (D.D.C. 2020)‬

‭(emphasis in original) (quoting‬‭League of Women Voters of United States v. Newby‬‭,‬

‭838 F.3d 1, 9 (D.C. Cir. 2016));‬‭see also Open Communities All. v. Carson‬‭, 286 F.‬

‭Supp. 3d 148, 178 (D.D.C. 2017) (finding irreparable harm and granting injunction‬

‭where agency action would “perceptibly impair [plaintiff’s] programs and directly‬

‭conflict with [its] mission” of assisting families receiving housing vouchers “gain‬

‭access to greater opportunity”).‬‭Cf. generally FDA v. All. for Hippocratic Med.‬‭,‬

‭602‬‭‬‭U.S. 367, 395 (2024) (recognizing that organizations suffer injury when‬

‭government action “perceptibly impair[s]” their ability to carry out their core‬

‭mission or “directly affect[s] and interfer[s] with [their] core business activities”).‬

       ‭The funding freeze will “unquestionably make it more difficult” for Plaintiffs‬

‭and their mission-oriented members to carry out their core purposes. Indeed, the‬

‭obstacle here is even more direct and obvious than in other cases where courts have‬


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‭found irreparable injury,‬‭e.g.‬‭,‬‭Open Communities‬‭, 286 F. Supp. 3d at 178, because‬

‭the freeze will abruptly halt funding that in many cases enables Plaintiffs and their‬

‭members to accomplish their organizational missions.‬‭See also‬‭[Ellison decl]‬

‭¶¶‬‭‬‭13-15; [Strickland decl] ¶¶ 21-31.‬

       ‭Plaintiffs expect that there are many more examples of grant recipients who‬

‭face irreparable injury, but do not wish to share this publicly due to threats of‬

‭retaliation. This morning, Elon Musk, a close presidential advisor and purported‬

‭leader of the U.S. DOGE Service, retweeted and pinned at the top of his X account a‬

‭post from Joe Lonsdale, stating that “we’re engaged in a war that will decide the‬

‭trajectory of our civilization, and NGO’s [sic] are a major front. . . . Trump is‬

‭fighting leftist judges over his federal grant freeze . . . . What can we do? TO‬

‭ARMS.”‬




                                             ‭36‬
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‭https://x.com/JTLonsdale/status/1885226687283290301.‬

‭Musk commented: “Tyranny.”‬




                                       ‭37‬
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‭https://x.com/elonmusk/status/1885293172458242296.‬

          ‭3.‬ ‭The freeze will inflict existential and unrecoverable economic‬
                ‭injuries on award recipients.‬

       ‭“[E]conomic loss can constitute irreparable injury . . . where monetary loss . .‬

‭. threatens the very existence of the movant’s business or where the claimed‬

‭economic loss is unrecoverable (‬‭e.g.‬‭, when the defendant is entitled to sovereign‬

‭immunity.”‬‭AmSurg EC Washington, Inc. v. MGG Grp. Co., Inc.‬‭, No.‬‭‬‭23-cv-2416,‬

‭2024 WL 2405822, at *2 (D.D.C. Apr. 26, 2024). Here, the economic loss that would‬

‭be caused by the freeze constitutes irreparable harm for both reasons. It is‬




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‭unrecoverable due to the federal government’s sovereign immunity. And it‬

‭threatens the very existence of numerous of Plaintiffs’ members.‬

        ‭For example, the member of MSA described above who remains locked out of‬

‭her small business funding has established with specificity that, without relief from‬

‭this Court, her small business will suffer catastrophic and existential harm from‬

‭her continued inability to access funds on an open award.‬‭See‬‭Ex. F. Her declaration‬

‭explains that she relies on an online portal to draw funds twice per month in order‬

‭to meet payroll and that the portal has remained frozen.‬‭Id.‬‭¶¶‬‭‬‭12-13, 17-18. It‬

‭further explains that without access to those funds, her company will be unable to‬

‭pay its employees or contractors, will be required to lay off its entire staff, and “will‬

‭cease to exist.”‬‭Id.‬‭¶¶ 20, 21.‬

        ‭Another member of MSA, who runs a daycare that serves low-income‬

‭families, “will begin sliding toward imminent and certain closure” without “access to‬

‭the federal funding programs” in which it participates. Ex. K ¶‬‭‬‭20. Without federal‬

‭funding, the daycare can no longer continue caring for children with subsidized‬

‭tuition payments.‬ ‭Id.‬‭¶ 21. And without that income, the daycare will not be able‬

‭to meet its monthly operating costs, and would close within two months, at most.‬

‭Id.‬‭¶ 22.‬

        ‭Another declaration, from a member of NCN, describes the impact of the‬

‭freeze on her small nonprofit’s provision of direct services to people with mental‬

‭health issues, substance issues, or who are experiencing homelessness. Ex.‬‭‬‭G.‬

‭Following release of Memo M-25-13, the member was unable to access funds on‬




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‭open federal awards, which provide roughly half of her group’s budget.‬‭Id.‬‭¶¶ 13-14.‬

‭Nineteen hours after the Court issued its administrative stay, access eventually‬

‭returned.‬‭Id.‬‭¶¶ 10-11. Even just that brief interruption, however, required the‬

‭member to begin shuttering programs such as assisting people in obtaining birth‬

‭certificates and ID cards as well as a “Family Reunification” initiative that helps‬

‭people without the means to visit their families in other parts of the state or‬

‭country.‬‭Id.‬‭¶¶ 20-24. If the freeze on funds were to resume, the member would be‬

‭forced to again shut down certain vital programs immediately and eventually wind‬

‭down all operations, with dire consequences for those who depend on the services‬

‭the group provides.‬‭Id.‬‭¶¶ 25-30.‬

       ‭Another declarant, a member of APHA who chairs the board of a small‬

‭nonprofit dedicated to providing community health care services, also explained‬

‭how his organization, which relies on open federal grants for nearly all its funding,‬

‭would be severely and irremediably harmed by the freeze. Ex. H. His organization‬

‭continues to be unable to draw funds through the portal provided by HHS.‬‭Id.‬‭¶¶‬

‭9-11. If funds remain frozen by Tuesday, February 4—i.e., the day after the‬

‭scheduled hearing in this case—the member’s organization will not have money to‬

‭make payroll and will face other irreparable harms to its ability to provide care.‬‭Id.‬

‭¶¶ 12-15.‬

   ‭C.‬ ‭The equities and public interest require relief.‬

       ‭Finally, the balance of equities heavily favors a temporary restraining order‬

‭here. The M-25-13 freeze is unlawful, and the government has no legitimate‬



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‭interest in its continued implementation. The government’s purported “rescission”‬

‭all but concedes the point that Defendants will not be harmed if they are unable to‬

‭implement that freeze.‬

       ‭The government further ignores the public interest beyond Plaintiffs’‬

‭injuries. Plaintiffs and their members have explained in detail how the freeze‬

‭harms not only them, but also other similarly situated grant recipients, and the‬

‭people that they serve.‬‭See‬‭Ex. I ¶¶ 5-7; G ¶¶ 21-32; Ex. J (text of speech from NCN‬

‭member explaining that a federal grant funding pause will cause her organization‬

‭to lose half of their state funding for program that provides no-cost preschool to‬

‭income-eligible 4-year-olds);‬‭see also‬‭Ex.C.‬

       ‭Reporting confirms what Plaintiffs know: under the OMB freeze, preschools‬

‭were unable to pay their staff;‬‭15‬ ‭disaster aid to Los Angeles and North Carolina‬

‭would stop abruptly;‬‭16‬ ‭elderly people who depend on Meals on Wheels to eat did not‬

‭know if they would have food;‬‭17‬ ‭an Alabama city worried it would not receive‬

‭funding to fix their drinking water system;‬‭18‬ ‭scientists, told to stop working on‬

‭grant-funded projects, faced missing opportunities to present their work;‬‭19‬

‭a‭‬‬‭nonprofit serving mostly people who are elderly, have disabilities, are on fixed‬

‭income, and/or are living in poverty is staring down $128,729 of unpaid‬


‭15‬
        ‭https://www.reuters.com/world/trump-orders-pause-all-federal-grants-loans-2025-‬
‭01-28/‬
 ‭16‬
          ‭Id.‬
  ‭17‬
        ‭https://apnews.com/article/donald-trump-pause-federal-grants-aid-f9948b9996c0c‬
   ‭a971f0065fac85737ce‬
    ‭18‬
         ‭Id.‬
     ‭19‬
        ‭https://www.cnn.com/2025/01/29/us/federal-grant-pause-what-we-know-hnk/index.‬
      ‭html‬

                                             ‭41‬
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‭expenditures for activities already conducted under HUD grants and feels that its‬

‭existence is threatened;‬‭20‬ ‭Plaintiffs have likewise received reports that several Head‬

‭Start programs are still unable to draw down funds and are planning not to be open‬

‭on Monday if the situation does not change—and so much more.‬‭See, e.g.‬‭, Ex. C‬

‭(setting out in detail the numerous state-run programs that will be affected by a‬

‭continuation of the freeze). The government does not attempt to describe how these‬

‭results are in the public interest.‬

       ‭D.‬ ‭Injunctive relief should not be stayed.‬

          ‭The Court should deny Defendants’ request (at 30) that it stay its injunctive‬

‭relief, which Defendants make no effort to justify under the traditional four-part‬

‭test governing that form of relief. Defendants voice objections to this Circuit’s‬

‭precedent approving nationwide relief,‬‭see‬‭ECF No. 5-1 at 15-16, but that precedent‬

‭is binding here, and in any event irrelevant to the question of a stay. They bristle at‬

‭the proposed requirement to file periodic status reports, but those requirements are‬

‭reasonable (particularly in light of the government’s conduct inconsistent with the‬

‭administrative stay), specifically described, and again irrelevant to whether a stay‬

‭is needed. More fundamentally, Defendants’ request that the Court stay its‬

‭temporary restraining order would make that order self-defeating by allowing the‬

‭very irreparable harm the Court would be acting to address.‬‭21‬
‭20‬
       ‭https://nwfairhouse.org/news/2025/northwest-fair-housing-alliance-is-at-risk-of-lo‬
‭sing-federal-funding-to-provide-essential-housing-support-services‬
 ‭21‬
        ‭Although Plaintiffs strenuously argue that dismissal is not warranted, should the‬
  ‭Court be inclined to disagree, Plaintiffs respectfully submit that it would be‬
   ‭premature to dismiss without providing an opportunity for Plaintiffs to file an‬
    ‭amended complaint. In the ordinary course, Plaintiffs would have 21 days to amend‬
     ‭as of right. Fed. R. Civ. P. 15(a). Given the government’s shifting position on the‬

                                             ‭42‬
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                                   ‭CONCLUSION‬

      ‭For all these reasons, and those in Plaintiffs’ opening brief, this Court should‬

‭grant the temporary restraining order and deny the motion to dismiss.‬



 ‭Dated: January 31, 2025‬           ‭Respectfully submitted,‬

                                    ‭/s/‬‭Kevin E. Friedl‬
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                                    K
                                    ‭York; practice supervised by DC Bar‬
                                     ‭members)‬
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                                       ‭Kaitlyn Golden (DC Bar No. 1034214)‬
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                                    ‭*admitted‬‭pro hac vice‬




f‭ reeze, and the chaotic factual landscape that has resulted, it would be‬
 ‭fundamentally unfair to deprive Plaintiffs of that right because of their compliance‬
  ‭with this Court’s order requiring a prompt response to the motion to dismiss.‬

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                            ‭CERTIFICATE OF SERVICE‬

      ‭On January 31, 2025, I caused the foregoing and accompanying declarations‬

‭and proposed order to be filed electronically via the Court’s CM/ECF system, which‬

‭provides electronic notice to all counsel of record. I further caused those documents‬

‭to be served on pro se movant Beatrice Adams at the mailing address she has‬

‭entered on the record.‬


‭Dated: January 31, 2025‬                        /‭s/‬‭Kevin E. Friedl‬
                                                  ‭Kevin E. Friedl‬




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